51 F.3d 265
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James E. CLARK, Plaintiff-Appellant,v.PRINCE GEORGE'S COUNTY CORRECTIONAL CENTER;  Samuel F.Saxton, Director;  Officer Brocan, Defendants-Appellees.
    No. 94-7456.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  March 15, 1994.Decided:  April 5, 1995.
    
      James E. Clark, appellant pro se.
      Andrew J. Murray, Office of the County Solicitor, Upper Marlboro, MD, for appellees.
      Before RUSSELL and WILLIAMS, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinions accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Clark v. Prince George's County Correctional Ctr., No. CA-93-441-N (D.Md. Nov. 3 &amp; Nov. 15, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    